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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )                Criminal No. 22-cr-15-10 (APM)
                                          )
ELMER STEWART RHODES, III, et al.,        )
                                          )
      Defendants.                         )
_________________________________________ )

                                               ORDER

       Defendant Thomas E. Caldwell’s Motion to Modify Conditions of Release, ECF No. 870,

is hereby granted. A variety of factors lead the court to conclude that the originally imposed

conditions of GPS monitoring, strict computer-monitoring, and limitations on travel are no longer

needed to ensure the safety of the community. 18 U.S.C. § 3142(c). Defendant has now been on

release for 40 months without incident. He is now nearly 70 years old, requires frequent medical

appointments, and has no prior criminal history. Although charged with significant crimes, the

jury acquitted Defendant of the most serious offenses, including all conspiracy charges.

Additionally, the probation office that monitors Defendant’s compliance does not oppose the

requested change in conditions.

       Accordingly, the court modifies Defendant Caldwell’s conditions as follows:

       1.     Suspends all GPS monitoring and other conditions that confined him to his home

and immediate property.

       2.     Modifies the internet-access restriction to permit internet use to purchase farm-

related commodities, groceries, and similar goods; pay bills and perform other household-related

tasks; manage medical appointments and other health-related matters; remain informed about
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national and local matters of public interest; and communicate by Zoom with friends and family.

Defendant’s access to social media sites remains restricted. Defendant’s wife need no longer

monitor his internet use.

       3.      Enlarges the area of permissible travel to within a 150-mile radius of Defendant’s

residence without need to obtain pre-approval from his supervising officer. Defendant may not,

however, travel to District of Columbia except for court obligations.

       All other conditions of release shall remain in place.




                                                            Amit P. Mehta
Date: June 17, 2024                                  United States District Court Judge




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